Case 1:22-cv-11378-RGS Document 227-27 Filed 02/21/24 Page 1 of 5




             EXHIBIT 27
       Case 1:22-cv-11378-RGS Document 227-27 Filed 02/21/24 Page 2 of 5




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 MODERNATX, INC. and MODERNA US, INC.,

                               Plaintiffs,

                       v.                               Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH US
 INC.,

                               Defendants.


    DEFENDANTS’ MOTION TO COMPEL MODERNA’S PRODUCTION OF
 DOCUMENTS AND INFORMATION ERRONEOUSLY WITHHELD AS PRIVILEGE


       Defendants BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc.

(collectively, “BioNTech”) and Pfizer Inc. (“Pfizer”) (collectively, “Defendants”) respectfully

request that the Court compel ModernaTX, Inc. and Moderna US, Inc. (collectively, “Moderna”)

to produce the following two documents in unredacted form: (1) the document bearing Bates

number MOD_000282515 (“the Schrum white paper”); and (2) the document bearing Bates

number MOD_000332132 (“the de Fougerolles white paper”). Moderna improperly asserts

privilege in connection with these two scientists’ papers, which are directly relevant to their

messenger RNA (“mRNA”) research—the very scientific work upon which Moderna affirmatively

relies in this case. At a minimum, Defendants respectfully request that the Court review in camera

the redactions from the Schrum and de Fougerolles white papers pursuant to Fed. R. Civ. P.

26(b)(5)(B).




                                                1
       Case 1:22-cv-11378-RGS Document 227-27 Filed 02/21/24 Page 3 of 5




       For the reasons set forth in the attached memorandum in support, Defendants respectfully

request that the Court compel Moderna to produce both documents in full. To the extent the Court

declines to order production of the de Fougerolles white paper in full, Defendants request that

Moderna be ordered to produce a redacted version, consistent with the Protective Order. (D.I. 67,

¶ 9.3.) In the alternative, to the extent the Court deems it necessary to resolve the parties’ dispute,

Defendants respectfully request that the Court order an in camera review pursuant to Fed. R. Civ.

P. 26(b)(5)(B).

                             REQUEST FOR ORAL ARGUMENT

       BioNTech and Pfizer respectfully request that the Court order oral argument. BioNTech

and Pfizer would like to be heard on the issues presented in their motion and believe that oral

argument can assist the Court in resolving the parties’ dispute.




                                                  2
     Case 1:22-cv-11378-RGS Document 227-27 Filed 02/21/24 Page 4 of 5




Respectfully submitted,

DEFENDANT AND COUNTERCLAIM-               DEFENDANTS AND COUNTERCLAIM-
PLAINTIFF PFIZER INC.                     PLAINTIFFS BIONTECH SE,
                                          BIONTECH MANUFACTURING GMBH,
                                          AND BIONTECH US INC.

By their Counsel,                         By their Counsel,

/s/ Michael Xun Liu                       /s/ Gregory M. Boucher
_________________________________         ___________________________________
Chaloea M. Williams, BBO # 691154         Jeffrey S. Robbins, BBO #421910
cwilliams@wc.com                          Jeffrey.Robbins@saul.com
WILLIAMS & CONNOLLY LLP                   Joseph D. Lipchitz, BBO #632637
680 Main Avenue SW                        Joseph.Lipchitz@saul.com
Washington, DC 20024                      Gregory M. Boucher, BBO #665212
Tel: (202) 434-5623                       Gregory.Boucher@saul.com
Fax: (202) 434-5029                       SAUL EWING LLP
                                          131 Dartmouth Street, Suite 501
                                          Boston, MA 02116
                                          Tel: (617) 723-3300

OF COUNSEL:                               OF COUNSEL:

Thomas H. L. Selby*                       Bruce M. Wexler*
Stanley E. Fisher*                        Eric W. Dittmann*
Kathryn S. Kayali*                        Young J. Park*
Michael Xun Liu*                          Ashley N. Mays-Williams*
D. Shayon Ghosh*                          Scott F. Peachman
Julie Tavares*                            Karthik R. Kasaraneni*
Derrick M. Anderson*                      Ryan Meuth*
Haylee Bernal Anderson*                   PAUL HASTINGS LLP
WILLIAMS & CONNOLLY LLP                   200 Park Avenue
680 Maine Avenue SW                       New York, NY 10166
Washington, DC 20024                      Tel: (212) 318-6000
Tel: (202) 434-5000
Fax: (202) 434-5029

* Admitted pro hac vice

Attorneys for Defendant and               Attorneys for Defendants and Counter-
Counter-Claim Plaintiff Pfizer Inc.       Claim Plaintiffs BioNTech SE, BioNTech
                                          Manufacturing GmbH, and BioNTech US,
                                          Inc.




                                      3
       Case 1:22-cv-11378-RGS Document 227-27 Filed 02/21/24 Page 5 of 5




        CERTIFICATION PURSUANT TO LOCAL RULES 7.1(a)(2) AND 37.1(b)

       Pursuant to Local Rules 7.1(a)(2) and 37.1(b), on January 4, 2024 at 2:00 p.m., counsel

for Defendants participated in a telephone call with counsel for Moderna, but were unable to

reach an agreement, and have complied with Local Rules 7.1(a)(2) and 37.1(b). The parties also

exchanged letters relating to this dispute, which are attached as exhibits to this motion.

                                              /s/ Gregory M. Boucher
                                              Gregory M. Boucher (BBO# 665212)



                                CERTIFICATE OF SERVICE

       I, Gregory M. Boucher, hereby certify that on January 19, 2024, I caused the foregoing

motion to be electronically filed with the Clerk of the Court via email pursuant to the Court’s

January 19, 2024 Order (Dkt. 204) granting in part Defendants’ Motion to Seal (Dkt. 203), and I

simultaneously served notice of such filing to all counsel of record to their registered electronic

mail addresses.



                                               /s/ Gregory M. Boucher
                                               Gregory M. Boucher (BBO# 665212)




                                                  4
